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IN THE ClRCUIT CO T, FOUR'I'I-I
JUDICIAL CIRCUIT, AND FOR
DUVAL COUN'I`Y, FLORIDA

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cAsr~:No. shaw 57 .
DrvrsloN: lb~~ wZ-cl-OU l bf‘i$
ANDREKHARDY,sn, v
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VS.

 

 

 

 

 

 

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undersigned counsel, and hereby sues Defendants, SOU'I'HEAST TRANSPORTATION
SYS'I'EMS, INC. (hereinaher “SOUTHEAS’I`"), and I`VAN J. KYLER, an individual,
(hereinafier “KYLER”) and alleng
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1. ms is en aaron ferdemegee which exceeds the sum ofme mower
Dollars (315,000.00), exclusive of costs, interest, and attorneys‘ fees.

2. At all times material hereto, Plaintid`, ANDRE R. HARDY, SR., was and
is a natural person and resident of Jacksonville, Duval Cormty, Florida. j

3. At all times material hereto, Defendant, SOU'I`HEAS
'I'RANSPORTATION SYS'I'EMS, INC., was and is a foreign corporation which '
incorporated in the State ofDelaware and at all times material hereto is operating

doing business in Jacksonville, Florida, as a transportation and logistics provider and al

 

 

 

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company that owns and operates commercial trucks and vehicles in the greaterll
Jacksonville, Florida area. ;!
4. At all times material hereto, Defendant KYLER., an individual, was a
natm'al person and resident of Brunswick, Georgia. §
5. At all tim material hereto, Defendant KYLER, an individual, was and rs
an employee of Defendant SOU'I`HEAST, and all times material hereto was in the course
and scope of employment of the subject Defendmt at the time of the subject motor
vehicle accident l
6. On or about July 3, 2010, Defendant SOU'I'HEAST owned and/or leased
and/or operated a commercial truck (Vehicle Identiiication No. lNP5LB9X970679903) m
Jacksonville, Duval County, Florida, at or near the intersection of State Road 9A (l-29S§
expressway North) and Commonwealth Avenue.
7. At all times material hereto, Defendant SOUTHEAST is vicariously liabch
for individual Defendant HARDY’s conduct and for the injuries and damages caused b)J
the Defendants’ vehicle referenced herein. t
8. At that time and place, Defendant KYLER negligently operated and/on
maintained the subject motor vehicle referenced hereinabove in paragraph 6 so that irii
collided with a motor vehicle owned by Resheena Wimberly Bryant and driven by
Plaintid`, ANDRE R. HARDY, SR.
9. Venue is proper in this county because the cause of action occurred in this

county.

 

 

 

 

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wl
(Negligence Claim as to Southeast Transportation Systems, Inc. and Ivan J. Kyler) 1

10. Plaintiii; ANDRE R. HARDY, SR., realleges and reamrms paragraphs l
lthrough 9 set forth above.

ll. As a direct and proximate result of the foregoing negligence Plaintiff,
ANDRE R. HARDY, SR., suffered bodily injury resulting in pain and suffering,
impairment disability, disfigurement mental anguish, loss of capacity for the enjoyment
of life, medical care and treatment loss of earnings, loss of ability to earn money, and.
aggravation of s previously wasting eonditioo 'rhe injury co the Plaimia; ANDRE rt
HARDY, SR., is permanent within a reasonable degree of medical probability, and ther
Plaintiii` will continue to suB`er the referenced losses in the future. `
WHEREFORE, PlaintiE, ANDRE R. HARDY, SR., demands judgment against
Defendants, SOU'I'HEAST 'I'RANSPORTATION SYS'I'EMS, lNC. and IVAN J.:

l
KYLER, an individual, for damages, costs of this action, trial by jury, and such other

tin-ther relief as this Court may deem appropriate
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DA'I'ED this l 2 day of February, 2012.

EDWARDS & RAGATZ, P.A.

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